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AO 245B (Rev. 09/11)(VAED rev. 2)Sheet 1 - Judgment in a Criminal Case




                                            UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia
                                                            Alexandria Division

 UNITED STATES OF AMERICA
                                     V.                                  Case Number: l:15-cr-00245-TSE-l

 ALEKSEI YURIEVICH BURKOV                                                USMNumber:93914-083
 a/k/a "Aleksey Yurevich Burkov"                                         Defendant's Attorney: Gregory E. Stambaugh, Esquire
 Defendant.


                                            JUDGMENT IN A CRIMINAL CASE

    The defendant pleaded guilty to Count 2 and Count 5 ofthe Superseding Indictment.
   Accordingly, the defendant is adjudicated guilty ofthe following counts involving the indicated offenses.

 Title and Section                        Nature of Offense                       Offense Class      Offense Ended      Count


 18 U.S.C.§ 1029(a)(2) and                Access Device Fraud                     Felony            08/2013               2
 2(a)

 18U.S.C.§371                             Conspiracy to Commit Access Device      Felony             12/13/2015
                                          Fraud,Identity Theft, Computer
                                          Intrusion, Wire Fraud,and Money
                                          Laundering

   On motion ofthe United States, the Court has dismissed the remaining counts in the superseding indictment(Count 1,
3, and 4)as to defendant ALEKSEI YURIEVICH BURKOV.

   As pronounced on June 26, 2020, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change
of name,residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attomey of material
changes in economic circumstances.

   Signed this 26th day of June,2020.




                                                                           T. S. Ellis, III
                                                                           United States Dii^ricl Judge
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